UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROSEMARIE RICHARDSON

                               Plaintiffs,                    Index No. 1:16-CV-013ó4 (JPO)

                 -against-                                    AFF'IDAVIT

CARMEN FARINA, KATHERINE G. RODI,
CANDACE R. MCLAREN, MIRIAM M. BERARDINO,
ANNA STEEL, THE NEW YORK CITY
DEPARTMENT OF EDUCTION, THE NEW YORK
CITY BOARD OF EDUCATION AND THE CITY OF
NEW YORK

                                Defendants




STATE OF NEW YORK                     )
                                      )      ss.
COUNTY OF NEW YORK                    )


               ROSEMARIE RICHARDSON, being duly sworn, deposes and says:

               1.      I   am the plaintiff in the above captioned action and am fully

familiar with the facts and circumstances of the case.

               2.      On September 9, 2015, Malory Sullivan, First Deputy Director,

Office of Personnel Investigation, Division of Human Resourçes for the DOE, provided

my counsel, Neal Rosenberg, with a copy of the August 12,2012, "Investigative Report"

in which it was recommended that I "be placed on the Ineligible List and not          be


considered for future employment with the DOE." [ECF Doc 1-3 at 8].        A copy of the

Report was never sent to your deponent until       it was transmitted to Mr. Rosenberg on

September 9,2015.
                  3.    Subsequently,     Mr.   Rosenberg requested     that Ms.    Sullivan

reconsider the determination   in issue via letter dated    September 29,2015   in which   he

attached a copy   of a detailed response which I prepared. [ECF Doc 1-4]. The response I

prepared was and is true and conect.

                  4.    Thereafter,   I and Mr. Rosenberg   received a response by mail from

 Ms. Rodi dated October 20,2015, in which she "affirmed" the recommendation in the

 Investigative Report dated August 12, 2012.




                                                                      RICHABDSON

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